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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

In re Terrorist Attacks on September 11,2001 |03 MDL 1570 (GBD)(SN)
ECF Case

This document relates to:

Ashton et al. v. al Qaeda Islamic Army, et al., 02-cv-6977 (GBD)(SN)
Bauer et al. v. al Qaeda Islamic Army, et al., 02-cv-7236 (GBD)(SN)
Ashton et al. v. Kingdom of Saudi Arabia, 17-cv-2003 (GBD)(SN)

DECLARATION OBJECTING IN PART
TO MOTION TO SUBSTITUTE COUNSEL

Dorothea M. Capone, Esq., hereby states under penalty of perjury that:

is Since it was founded in 1988, Baumeister & Samuels has never had a single client
elect to substitute other counsel until now. To be clear, the firm does not oppose the Maher
plaintiffs’ decision to substitute counsel. Although the motion submitted by Dennis Pantazis
suggests that the firm unilaterally informed the Maher plaintiffs to seek new counsel, as can be
seen from the March 22, 2019 email sent by Michel F. Baumeister to Patty Ryan and Kathy
Maher’ attached as Exhibit “A”, communications over a period of several months between the
firm and Ms. Ryan and Ms. Maher concerning the U.S. Victims of State Sponsored Terrorism
Fund (“USVSST Fund”) had deteriorated to the point where neither Ms. Ryan nor Ms. Maher
continued to trust the advice and counsel provided to them leaving the firm in an untenable

position.”

'A similar response is being filed by Baumeister & Samuels simultaneously in the Motion to
Substitute Counsel submitted by Dennis Pantazis on behalf of the Ryan plaintiffs.

*As part of its representation of both the Ryan and Maher plaintiffs, in 2016 Baumeister &

Samuels engaged in the laborious and time-intensive process of seeking, obtaining and serving
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z. By email dated April 3, 2019, Kathy Maher instructed the firm to forward all files
and information pertaining to claims against the Republic of Iran, the Kingdom of Saudi Arabia
and other non-sovereign defendants filed by Baumeister & Samuels on behalf of the Maher
plaintiffs to Mr. Pantazis. I emailed Mr. Pantazis on April 5, 2019 to let him know that we had
been advised by the Maher plaintiffs that he would be substituted as counsel. In this email I
requested that he prepare a motion to substitute himself as counsel and provide for the removal
of the Maher plaintiffs from the Ashton/Bauer complaints as they would no longer be
represented by Ashton/Bauer counsel following the substitution. Mr. Pantazis represents other
clients identified as Havilish Plaintiffs with claims arising out of the September 11, 2001 terror
attacks in the Consolidated Amended Complaint filed on March 17, 2017
(1:03-md-01570-GBD-SN (No. 3463)).

Be Receiving no response to my April 5, 2019 email, I sent another email to Mr.
Pantazis on April 16, 2019 requesting a reply, and received a response that he was still in the
process of determining whether he could represent the Maher plaintiffs.

4. By email dated July 19, 2019, I received a letter from Mr. Pantazis advising he
been retained to represent the Maher plaintiffs and requesting copies of files related to their
claims in the September 11, 2001 terror actions.

oe After traveling out of the office for several weeks to attend to client matters, on
August 13, 2019 I sent an email to Mr. Pantazis reminding him of my April 5, 2019 email

requesting the preparation of a substitution motion which includes the removal of the Maher

default judgments against the Republic of Iran in order to submit applications on behalf of each
family to the USVSST Fund. The claims of the Ryan and Maher plaintiffs were deemed eligible
by the USVSST Fund. In the event there is a change to the language of the statute that
established the USVSST Fund, the Ryan and Maher plaintiffs will be able to receive
compensation from the Fund for their default judgments.

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plaintiffs from the Ashton/Bauer actions. To assist Mr. Pantazis in the preparation of the
necessary substitution motion, I provided him with a detailed history of all filings made by
Baumeister & Samuels on behalf of the Maher plaintiffs and the applicable civil action numbers.
My email also advised Mr. Pantazis that the firm wished for him to acknowledge that it will have
a lien for the fees and unreimbursed expenses related to our efforts in pursuing claims on behalf
of the Maher plaintiffs for more than 17 years in the event there is any future recovery in any
actions arising out of the September 11, 2001 terror attacks, although I suggested that a
discussion of this lien could be deferred until such time as there was a successful outcome.

6. On August 14, 2019 I received an email from Mr. Pantazis’ office forwarding
Consent Orders for the firm to execute and return. I replied to this email with a request that my
April 5" and August 13" emails be provided to Mr. Pantazis so that an appropriate motion could
be prepared substituting Mr. Pantazis as counsel, removing the Maher plaintiffs from the
Ashton/Bauer actions and providing for an acknowledgment of Baumeister & Samuels’ lien for
its fees and unreimbursed expenses. On August 22, 2019, Mr. Pantazis sent me a draft Consent
Motion to Substitute Counsel with the same Consent Orders provided by his staff seeking our
signature.

Ve On August 28, 2019, I forwarded the firm’s revisions to the Consent Motion to
Mr. Pantazis which included my repeatedly requested relief to remove the Maher plaintiffs from
the Ashton/Bauer actions and an acknowledgment of the firm’s lien.

8. On September 10, 2019, while I was in Washington, DC meeting with
representatives from the White House, the DOJ and other officials in connection with the
declassification of certain FBI documents related to the 9/11 terror attacks, Mr. Pantazis

responded and stated that he and his clients had reviewed my revisions and the Maher plaintiffs
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would not agree to acknowledge the firm’s lien for the work it had done on their behalf for more
than 17 years in the litigation against Iran, Saudi Arabia and other non-sovereign defendants.

9 By email on September 19, 2019 I advised Mr. Pantazis that the firm could not
agree to execute the Consent Motion for the Maher plaintiffs without a provision to remove them
from the Ashton/Bauer actions since they would no longer be represented by Ashton/Bauer
counsel following the substitution, and without an acknowledgment of the firm’s lien for more
than 17 years of work and the expenditure of thousands of dollars of unreimbursed expenses.

10. Mr. Pantazis filed a Motion to Substitute Counsel this morning which has
necessitated the submission of this Declaration to the Court in order to provide it with a clearer
understanding of the need to remove the Maher plaintiffs from the Ashton/Bauer actions, and to
request an acknowledgment of the firm’s lien.

I respectfully request that the Court issue an order (i) substituting Mr. Pantazis as counsel
for the Maher plaintiffs; (ii) removing the Maher plaintiffs from the Ashton/Bauer actions since
they will no longer be represented by Ashton/Bauer counsel following the requested substitution;
and (iii) recognizing and acknowledging that Baumeister & Samuels will have a lien for the
firm’s fees and unreimbursed expenses in the event there is any future recovery to the Maher

plaintiffs in any actions arising out of the September 11, 2001 terror attacks.

Dated: September 20, 2019 Nps.

Dorothea M. Capone, Esq.
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*In light of the smaller award made to the Maher plaintiffs by the September 11" Victims
Compensation Fund due to significant collateral offsets, Baumeister & Samuels waived its
contingency fee completely so that the total net award could be distributed to the Maher
plaintiffs.

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